                                                     Case 1:21-cr-00326-PLF Document 10 Filed 04/22/21 Page 1 of 25
AD 442 (Rev. ll/ll)                   Arrest Warrant




                                                                             UNITED STATES DISTRICT COURT
                                                                                                               for the

                                                                                                    District of Columbia

                              United States of America
                                          v.
                                                                                                                 ) Case: 1:21-mj-00351
                                         Michael Fitzgerald                                                      ~ Assigned To : Meriweather, Robin M.
                                                                                                                 ) Assign. Date ~4/2/2021
                                                                                                                 ) Description: COMPLAINT WI ARREST WARIRANl
                                                                                                                 )
                                                               Defendant


                                                                                                ARREST WARRANT
To:          Any authorized law enforcement officer


             YOU ARE COMMANDED                                                    to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                                                                       Michael Fitzgerald
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment                                       o            Superseding Indictment            o Information          o   Superseding Information             N Complaint
o     Probation Violation Petition                                                o   Supervised Release Violation Petition            o Violation     Notice         0 Order of the Court

This offense is briefly described as follows:

 18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder;
 18 U.S.C. §§ 1752(a)(I) and (2) - Knowingly Entering or Remaining in any Restricted Building or Grounds
 Without Lawful Authority;
 40 U.S.C. §§ 5104(e)(2)(D) and (G) - Violent Entry and Disorderly Conduct on Capitol Grounds.

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Date: __           0",--4,-,--/0"",2..,..,/2....,0",,2!.""-1   __
                                                                                                                                        Issuing officer's signature


City and state:                                                       Washington, D.C.                                   Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                                                          Printed name and title


                                                                                                              Return

       .    This warrant was r~ceived                                         o),(date)   .   4'/A IdlO'}"/          , and the person was arr~.stecton    (date)
                                                                                                                                          !It'(f- ~ $(,(r"c~Je.r
                                                                                                                                                                      L(/7 ~   0.). /

at   (City and state)                          H~dts<>'7                     b.r'!'6<hff¢                .
                                                                        :/




                                                                                                                                          Pri ted name and   p   e
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                  3:21-mj-00046-slc
                       1:21-cr-00326-PLF
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                                         Document
                                             #: 1 *SEALED*
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                                                                        Page 2 Page
                                                                               of 25 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District of &ROXPELD

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No.
                    Michael Fitzgerald                              )
                    DOB: 08/11/1978                                 )
                                                                    )
                                                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021             in the county of                              in the
                         LQWKH'LVWULFWRI      &ROXPELD , the defendant(s) violated:
             Code Section                                                     Offense Description
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder,
        18 U.S.C. §§ 1752(a)(1) and (2) - Knowingly Entering or Remaining in any Restricted Building or
        Grounds Without Lawful Authority,
         40 U.S.C. §§ 5104(e)(2)(D) and (G) - Violent Entry and Disorderly Conduct on Capitol Grounds.



         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                              Complainant’s signature

                                                                                       Stephen Hart , Special Agent
                                                                                              Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH

Date:             04/02/2021
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ'&                     Robin M. Meriweather, U.S. Magistrate Judge
                                                                                              Printed name and title
                  Case:
                   Case3:21-mj-00046-slc
                        1:21-cr-00326-PLF Document
                                           Document#:10
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                                                               04/22/21
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 AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of Columbia

                  United States of America                           )
                                v.                                   ) Case: 1:21-mj-00351
                     Michael Fitzgerald                              ) Assigned To : Meriweather, Robin M.
                     DOB:        /1978                               ) Assign. Date: 4/2/2021
                                                                     ~ Description: COMF-LAINT WI ARRE.ST WARRANT
                                                                     )
                           Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best ofmy knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of _ _ _ _ __ _ _ _ _ in the
                         in the District of       Columbia       , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. § 231 (a)(3) - Obstruction of Law Enforcement During Civil Disorder,
        18 U.S.C. §§ l 752(a)(l) and (2) - Knowingly Entering or Remaining in any Restricted Building or
        Grounds Without Lawful Authority,
        40 U.S.C. §§ 5104(e)(2)(D) and (G) - Violent Entry and Disorderly Conduct on Capitol Grounds.



          This criminal complaint is based on these facts:

  See attached statement of facts.




         N. Continued on the attached sheet.




                                                                                       Stephen Hart, Special Agent
                                                                                                 Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone.
                                                                                       J,.     l!Jl::\. ,., _2021.04.02
                                                                                        f'P'   ~ 14:38:50 -04'00'
Date:             04/02/2021
                                                                                                   Judge's signature

City and state:                          Washington, D.C.                     Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                 Printed name and title
        Case:
         Case3:21-mj-00046-slc
              1:21-cr-00326-PLF Document
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                                STATEMENT OF THE FACTS

        Your affiant, Stephen Hart, is a Special Agent assigned to the Federal Bureau of
Investigation’s (“FBI) Washington Field Office (WFO). Specifically, I am tasked with
investigating public corruption and financial fraud investigations. Among other duties, I am
currently investigating criminal activity that occurred in and around the U.S. Capitol on January
6, 2021. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of a violation of Federal
criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
        Case:
         Case3:21-mj-00046-slc
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there. Photographs and videos of several of these persons were
disseminated via social media and other open source online platforms. These persons included a
white male, with brown hair, wearing a t-shirt that read “Wild Protest,” believed to be Michael
Fitzgerald (“FITZGERALD”), known to reside in Wisconsin.




                                                  Figure 1

        According to video footage, FITZGERALD entered the U.S. Capitol at approximately
2:47 pm on January 6, 2021, through the doors on the Senate side of the building. Prior to his
entry, the doors were guarded by law enforcement officers, who monitored the three entryways,
as depicted below:
        Case:
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       At approximately 2:47 pm, rioters aggressively pushed a podium placed in the middle
doorway, which had acted as a barrier between the law enforcement officers and the rioters, against
the law enforcement officers. As depicted below, the law enforcement officers struggled to push
back against the crowd of rioters:




        During the push, which lasted for approximately 1 minute and 20 seconds, video footage
depicted rioters punching law enforcement officers, throwing objects at law enforcement
officers, and attempting to hit law enforcement officers with a flagpole.

        As seen below, highlighted in the red box, FITZGERALD was near the front of the line
of rioters, participating in the push against law enforcement officers:
       Case:
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                                                                         257




        As seen below, highlighted in the red box, as the pushing continued, FITZGERALD
raised his right hand to hold his phone in the air:




       After 1 minute and 20 seconds, the rioters pushed past the law enforcement officers. As
seen below, highlighted in the red box, FITZGERALD continued to use his phone after entering
the U.S. Capitol:
        Case:
         Case3:21-mj-00046-slc
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       FITZGERALD then walked and congregated with other rioters inside the building.
FITZGERALD walked towards the Crypt at approximately 3:03 pm. At approximately 3:26
pm, or approximately 40 minutes after his entry, video shows FITZGERALD leaving the Capitol
through a window on the Senate side of the building.




       Subsequent to January 6, 2021, in an effort to identify individuals who had entered the U.S.
Capitol unlawfully, the FBI publicly released a “Seeking Information Bulletins,” which included
the Figure 1 photograph as Photograph #32 below:
        Case:
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        On or about January 8, 2021, a tipster contacted FBI who had reviewed the FBI’s “Seeking
Information Bulletins” and identified Photograph #32 as FITZGERALD. The tipster confirmed
that s/he knew FITZGERALD through employment and provided FITZGERALD’s address and
phone number.

        On or about January 9, 2021, FITZGERALD contacted the FBI. On that same day, FBI
agents met with FITZGERALD at his residence in Janesville, Wisconsin. The agents confirmed
that FITZGERALD was the person depicted in Photograph #32 of the “Seeking Information
Bulletins.”

        Based on the foregoing, your affiant submits that there is probable cause to believe that
FITZGERALD violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions.

        Your affiant submits there is also probable cause to believe that FITZGERALD violated
40 U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.
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        Case 1:21-cr-00326-PLF
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        Finally, your affiant submits there is probable cause to believe that FITZGERALD violated
18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.



                                                     _________________________________
                                                     Special Agent Stephen Hart
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 2nd day of April 2021.


                                                     ___________________________________
                                                     ROBIN M. MERIWEATHER
                                                     MAGISTRATE JUDGE
                                                     FOR THE DISTRICT OF COLUMBIA
               Case: Case
                     3:21-mj-00046-slc
                          1:21-cr-00326-PLF
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AO 442 (Rev. 11/11) Arrest Warrant



                                         UNITED STATES DISTRICT COURT
                                                                   for the

                                                           District of&ROXPELD

                  United States of America
                             v.                                      )
                                                                     )        Case No.
                     Michael Fitzgerald
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                            Defendant


                                                        ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                          Michael Fitzgerald                                               ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment          u Information        u Superseding Information             ;
                                                                                                                       u Complaint
u Probation Violation Petition               u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder;
18 U.S.C. §§ 1752(a)(1) and (2) - Knowingly Entering or Remaining in any Restricted Building or Grounds
Without Lawful Authority;
 40 U.S.C. §§ 5104(e)(2)(D) and (G) - Violent Entry and Disorderly Conduct on Capitol Grounds.


Date:          04/02/2021
                                                                                            Issuing officer’s signature

City and state:                      :DVKLQJWRQ'&                        Robin M. Meriweather, U.S. Magistrate Judge
                                                                                              Printed name and title


                                                                   Return

           This warrant was received on (date)                           , and the person was arrested on (date)
at (city and state)                                            .

Date:
                                                                                           Arresting officer’s signature



                                                                                              Printed name and title
Case
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Case:1:21-cr-00326-PLF
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                   Case 1:21-cr-00326-PLF Document 10 Filed 04/22/21 Page 24 of 25
                                                                                                         RULE_5,

                                               U.S. District Court
                                      Western District of Wisconsin (Madison)
                                CRIMINAL DOCKET FOR CASE #: 3:21-mj-00046-slc-1


Case title: USA v. Fitzgerald, Michael                              Date Filed: 04/06/2021

Assigned to: Magistrate Judge Stephen L. Crocker

Defendant (1)
Michael Fitzgerald                                    represented by Mark Arthur Eisenberg
                                                                     Eisenberg Law Offices, S.C.
                                                                     308 East Washington Avenue
                                                                     P.O. Box 1069
                                                                     Madison, WI 53701-1069
                                                                     608-256-8356
                                                                     Fax: 608-256-2875
                                                                     Email: mark@eisenberglaw.org
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED
                                                                     Designation: Retained

Pending Counts                                                      Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                                   Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                          Disposition
None



Plaintiff
United States of America                              represented by Elizabeth Altman
                                                                     United States Attorney's Office
                                                                     222 West Washington Avenue
                                                                     Suite 700
                                                                     Madison, WI 53703
                                                                     608-264-5158
                                                                     Fax: 608-264-5054
                                                                     Email: elizabeth.altman@usdoj.gov
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED
                                                                     Designation: Government


Date Filed        #    Docket Text
             Case 1:21-cr-00326-PLF Document 10 Filed 04/22/21 Page 25 of 25

04/06/2021   1 Rule 5(c)(3) Documents from District of Columbia, Case Number 1:21-mj-00351, as to defendant Michael
               Fitzgerald. (Attachments:
               # 1 Redacted Complaint,
               # 2 Statement of Facts,
               # 3 Arrest Warrant (Sealed Document) (arw) (Entered: 04/06/2021)
04/06/2021   2 ** TEXT ONLY ORDER **
               On April 6, 2021 the court held a telephonic status conference. Defendant did not participate personally but was
               represented by his attorney, Mark Eisenberg. The government was represented by AUSA Elizabeth Altman. In
               light of the arrest warrant issued by the court in D.D.C., we agreed that defendant will "surrender" by participating
               in a Zoom release hearing on April 8, 2021 at 2:30 p.m. If defendant requests a preliminary hearing or an identity
               hearing in this district, then they will be held on a later date. The parties had no other matters to bring to the
               court's attention. Signed by Magistrate Judge Stephen L. Crocker on 4/6/2021. (rks) (Entered: 04/06/2021)
04/06/2021   3 ** TEXT ONLY ORDER **
               The court will hold a Release Hearing for Michael Fitzgerald on April 8, 2021 by Zoom video conference. The
               court will send invitations by email to counsel. If the defendant is unable to appear by video, the defendant may
               appear by telephone. All participants are reminded that video or audio recordings of the proceedings are strictly
               prohibited. Full guidelines governing access to court hearings can be found here. A guide to participating in Zoom
               video hearings can be found here. Public access to the video stream is available on YouTube. Signed by
               Magistrate Judge Stephen L. Crocker on 4/6/2021. (rks) (Entered: 04/06/2021)
04/07/2021   4 Pretrial Services Report as to Michael Fitzgerald (Sealed) (maw) (Entered: 04/07/2021)
04/08/2021   5 Minute Entry for proceedings held before Magistrate Judge Stephen L. Crocker: Release Hearing as to Michael
               Fitzgerald held on 4/8/2021 by Zoom video conference. Defendant released on conditions. Zoom Hearing set for
               4/22/2021 at 1:00 PM ET in District of Columbia. [:26] (kwf) (Entered: 04/08/2021)
04/08/2021   6 ** TEXT ONLY ORDER **
               On April 8, 2021, the court held a Zoom release hearing. Defendant Michael Fitzgerald participated, represented
               by Attorney Mark Eisenberg. The government was represented by AUSA Elizabeth Altman. Pretrial Services was
               represented by PTSO Michael Sutor. After hearing from the parties and from PTS, the court released defendant on
               conditions, including those proposed by the government but opposed by the defendant. Defendant waived an
               identity hearing and waived a preliminary examination in this district. Defendant will next appear at a Zoom
               hearing with the U.S. District Court for the District of Columbia on April 22, 2021 at 1:00 P.M., EDT. The parties
               had no other matters to bring to the court's attention. Signed by Magistrate Judge Stephen L. Crocker on 4/8/2021.
               (rks) (Entered: 04/08/2021)
04/08/2021   7 ORDER Setting Conditions of Release re: Michael Fitzgerald. (Not signed by defendant.) Signed by Magistrate
               Judge Stephen L. Crocker on 4/8/2021. (voc) (Entered: 04/08/2021)
04/09/2021   8 ORDER Setting Conditions of Release re: Michael Fitzgerald. (Signed by defendant on 4/9/2021.) Signed by
               Magistrate Judge Stephen L. Crocker on 4/8/2021. (rks) (Entered: 04/09/2021)
